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                       IN THE UNITED STATES DISTRICT COURT

                        DISTRICT OF UTAH, CENTRAL DIVISION


 UNITED STATES OF AMERICA, ex rel.,
 GERALD POLUKOFF, M.D.,
                                                  DEFENDANTS SHERMAN SORENSEN
        Plaintiff/Relator,                        AND SORENSEN CARDIOVASCULAR
                                                    GROUP’S MOTION FOR PARTIAL
 v.                                               SUMMARY JUDGMENT ON STATUTE
                                                    OF LIMITATIONS GROUNDS AND
 ST. MARK’S HOSPITAL,                               MOTION, IN THE ALTERNATIVE,
 INTERMOUNTAIN HEALTHCARE, INC.,                   FOR LEAVE TO TAKE ADDITIONAL
 INTERMOUNTAIN MEDICAL CENTER,                               DISCOVERY
 SHERMAN SORENSEN, M.D., SORENSEN
 CARDIOVASCULAR GROUP,                                  Case No. 2:16-cv-00304-TS-EJF

        Defendants.                                            Judge Ted Stewart

                                                        Magistrate Judge Evelyn J. Furse


       Defendants Sherman Sorensen, M.D. and Sorensen Cardiovascular Group (“Defendants”

or “Sorensen Defendants”), by and through their undersigned counsel, respectfully submit their

Motion for Partial Summary Judgment on Statute of Limitations Grounds and Motion, in the

Alternative, for Leave to Take Additional Discovery (“Motion”).
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                          INTRODUCTION AND RELIEF SOUGHT

       On December 6, 2012, Plaintiff/Relator Gerald Polukoff, M.D. (“Relator”) filed a

Complaint for Damages and Other Relief Under the False Claims Act. See Dkt. 1. Relator filed

an Amended Complaint on December 3, 2015. See Dkt. 90. In the Amended Complaint, Relator

alleges that, from “at least December 2002 through at least December 2011 and beyond, the

Defendants made or caused to be made false claims and statements to federal health care

programs to obtain reimbursement” for medical procedures that were allegedly “not medically

necessary.” Id. ¶ 2.

       Prior to May 13, 2019, which was two days before this Motion was filed, controlling

Tenth Circuit precedent dictated that the statute of limitations in False Claims Act (“FCA”) cases

where the government has not intervened is six years from the date the alleged FCA violation

occurred. See U.S. ex rel. Sikkenga v. Regence Bluecross Blueshield of Utah, 472 F.3d 702, 725

(10th Cir. 2006). This means that, in the present case, all alleged FCA violations that occurred

before December 6, 2006 – i.e. more than six years before the original Complaint was filed, are

barred by the statute of limitations.

       On May 13, 2019, the Supreme Court of the United States abrogated Sikkenga and held

that additional, and potentially longer, limitations periods are applicable to FCA cases like the

one at bar. See Cochise Consultancy, Inc. v. United States ex rel. Hunt, No. 18-315, 2019 WL

2078086 (U.S. May 13, 2019). However, for the reasons discussed below, the Supreme Court’s

holding should not be given retroactive effect, thus the six-year statute of limitations should still

apply in the present case. Defendants therefore respectfully request that the Court grants their

Motion for Partial Summary Judgment and holds that all alleged FCA violations that occurred


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before December 6, 2006 are time-barred. In the alternative, given the recency of the Supreme

Court’s decision and the fact that it abrogated Tenth Circuit precedent that had been in place for

over a decade, Defendants respectfully request that the Court grants Defendants an additional 60

days to take discovery and permits them to renew their Motion for Partial Summary Judgment on

Statute of Limitations Grounds after that discovery is complete, if renewal is warranted.


                   STATEMENT OF UNDISPUTED MATERIAL FACTS

       1.      Relator filed his Complaint on December 6, 2012. Relator pled four counts for

alleged violations of the False Claims Act, 31 U.S.C. § 3729(a)(1)(A-C) and (G). See Dkt. 1.

       2.      Approximately three years later, on December 3, 2015, Relator filed an Amended

Complaint containing the same four causes of action as the original Complaint. See Dkt. 90.

       3.      Relator alleges that “[f]rom at least December 2002 through at least December

2011 and beyond, the Defendants made or caused to be made false claims and statements to

federal health care programs to obtain reimbursement for cardiac, surgical, and diagnostic

procedures that were not medically necessary or were otherwise improperly billed.”1 Id. ¶ 2.

       4.      In the Amended Complaint, Relator provides what he alleges to be a “listing of

those medically unnecessary PFO closures and the related procedures” performed by Dr.

Sorensen. Some of the entries on this list have dates of service that predate December 6, 2006.

For example, there are entries for procedures identified by procedure code 93307 or 93307-26


1
        This paragraph, and the other paragraphs in the Statement of Undisputed Material Facts,
pertain only to the fact that Relator made certain allegations in the Amended Complaint. They
should not be misconstrued as admissions that any of the allegations are true or accurate.
Defendants deny that they performed any medically unnecessary procedures or made any false
claims or statements to any federal health care program. See Answer to Am. Complaint ¶ 2, Dkt.
248.
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that were performed on June 13, 2000, December 3, 2002, August 15, 2006, and October 1,

2006. Id. ¶ 143 at pp. 49, 61, 76, and 78.

       5.        The Amended Complaint also alleges that Dr. Sorensen performed a PFO closure

on April 4, 2006 that was medically unnecessary. Id. ¶ 144(a).

       6.        The United States Government declined to intervene in this action. See Notice of

Election to Decline Intervention, Dkt. 35.


                                             ARGUMENT

       I.        SUMMARY JUDGMENT STANDARD

       Summary judgment must be granted when there is no genuine issue as to any material

fact and the moving party is entitled to judgment as a matter of law. Ribeau v. Katt, 681 F.3d

1190, 1194 (10th Cir. 2012). When applying this standard, courts view the evidence and draw

reasonable inferences therefrom in the light most favorable to the non-moving party. Id. A fact is

material if, under the applicable law, “it could have an effect on the outcome of the lawsuit.”

Tabor v. Hilti, Inc., 703 F.3d 1206, 1215 (10th Cir. 2013). A genuine dispute over a material fact

exists if “a rational jury could find in favor of the nonmoving party on the evidence

presented.” Id. If a rational jury could not find in favor of the nonmoving party, summary

judgment must be entered. Id.

       II.       COCHISE CONSULTANCY, INC. DOES NOT APPLY RETROACTIVELY
                 AND RELATOR’S CLAIMS ARE PARTIALLY BARRED BY THE
                 STATUTE OF LIMITATIONS

       The False Claims Act contains three statutes of limitations. Specifically, 31 U.S.C. §

3731 provides:



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        (b) A civil action under section 3730 may not be brought--

                (1) more than 6 years after the date on which the violation of
                section 3729 is committed, or

                (2) more than 3 years after the date when facts material to the right
                of action are known or reasonably should have been known by the
                official of the United States charged with responsibility to act in
                the circumstances, but in no event more than 10 years after the date
                on which the violation is committed,

        Whichever occurs last.

        In 2006, the Tenth Circuit Court of Appeals held that only the six-year limitations period

in Subsection (b)(1) applies to FCA actions to which the United States is not a party. See

Sikkenga, 472 F.3d at 723–725. Thirteen years later, the Supreme Court upended this long-

established rule and held that both Subsection (b)(1) and (b)(2) apply to all civil FCA lawsuits,

regardless of whether the government intervenes. See Cochise Consultancy, Inc, 2019 WL

2078086, at *2. However, for the foregoing reasons, Cochise Consultancy does not have

retroactive effect. As a result, only the six-year limitations period applies to the present case, and

it partially bars Relator’s claims.

        A. Cochise Consultancy Does Not Apply Retroactively

        Section 3731 does not explicitly state whether both Subsections (b)(1) and (b)(2) apply in

cases where the government has not intervened. But in 2006, the Sikkenga Court unequivocally

held that only Subsection (b)(1) applies to FCA actions to which the United States is not a party.

Sikkenga, 472 F.3d at 723, 725; see also U.S. ex rel. Foster v. Bristol-Myers Squibb Co., 587

F.Supp.2d 805, 814 (E.D. Tex. 2008) (noting that the Sikkenga Court limited 31 U.S.C. §

3731(b)(2) to cases where the government intervenes). The Sikkenga Court reasoned that

Subsection (b)(2) has no application to those cases because, inter alia, a private relator is not an

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“official of the United States” and “Congress could not have intended to base a statute of

limitations on the knowledge of a non-party.” Sikkenga, 472 F.3d 702 at 726.

       Accordingly, pursuant to Sikkenga, an FCA action, where the government does not

intervene, must be brought within six years after the alleged violations occurred. Any alleged

violations that occurred outside of that time period are not actionable. A “violation” occurs when

the false claim is presented to the government. U.S. ex rel. Foster v. Bristol-Myers Squibb Co.,

587 F.Supp.2d 805, 816 (E.D. Tex. 2008) (citing Smith v. United States, 287 F.2d 299, 303 (5th

Cir. 1961)); U.S. ex rel. Cericola v. Fed. Nat. Mortg. Assoc., 529 F.Supp.2d 1139, 1147 (C.D.

Cal. 2007) (citing United States ex rel. Aflatooni v. Kitsap Physicians Serv., 314 F.3d 995, 1002

(9th Cir.2002)); U.S., ex rel. Colunga v. Hercules Inc., 1998 WL 310481, at *2 (D. Utah Mar. 6,

1998) (citing United States v. Rivera,55 F.3d 703, 707 (1st Cir.1995) and Smith, 287 F.2d at 304)

(declined to follow by Sikkenga on other grounds).

       On May 13, 2019, two days before this Motion was filed, the Supreme Court issued an

opinion abrogating Sikkenga. In a purely textual analysis, the Court held that all of the

limitations periods in 31 U.S.C. § 3731, including Subsection (b)(2), apply in all FCA cases.

Cochise Consultancy, Inc, 2019 WL 2078086, at *2. The Court further held that the statute of

limitations in Subsection (b)(2) begins to run when the government official charged with

responsibility to act knows, or has reason to know, about the alleged fraud.2 Id. at **5-6. The

relator’s actual or constructive knowledge of the alleged fraud is irrelevant. Id.




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       The Court issued no opinion on who that government official may be.



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       This decision should not be applied retroactively. In determining whether a judicial

decision should be given retroactive effect, courts apply the factors set out by the Supreme Court

in Chevron Oil Co. v. Huson, 404 U.S. 97, 92 (1971). These factors are:

       (1) whether the more recent rule or decision establishes “a new principle
       of law, either by overruling clear past precedent on which litigants may
       have relied, or by deciding an issue of first impression whose resolution
       was not clearly foreshadowed;”

       (2) whether, given the history, purpose and effect of the new rule,
       retroactive application of this rule will further or retard its operation; and

       (3) whether retroactive application of the new rule “could produce
       substantial inequitable results.”

Pfeiffer v. Hartford Fire Ins. Co., 929 F.2d 1484, 1494 (10th Cir. 1991) (quoting Chevron, 404

U.S. at 106–07). These factors are “generally considered on a case-by-case basis to determine

whether a new rule of law should be applied retroactively.” Id.

       Cochise Consultancy should not be applied retroactively because it upended long-

established Tenth Circuit precedent and dramatically changed the law. Moreover, retroactive

application would potentially have a severe prejudicial effect on Defendants and similarly

situated litigants in other cases. The statute of limitations in Subsection (b)(2) that the Supreme

Court has imposed on all FCA actions amounts to a drastic increase in the limitations period.

Under Sikkenga, defendants, in cases where the government is not a party, are potentially liable

for up to six years of alleged pre-complaint FCA violations. Under Cochise Consultancy, the

same defendants are potentially liable for up to ten years of alleged pre-complaint violations.3 It


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        Retroactive application of Cochise Consultancy would also be unfair as a matter of
discovery and proof. As discussed above, the Subsection (b)(2) limitations period begins to run
when the government has actual or constructive knowledge of the facts material to the alleged
fraud. As a practical matter, it is difficult and highly burdensome for qui tam defendants to
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is plain to see why retroactive application of the Cochise rule would produce “substantial

inequitable results,” particularly in a case like this where the Relator seeks recovery for alleged

FCA violations that would be time-barred under precedent that was abrogated during the

pendency of the case:

               Extending the statute of limitations retroactively “increase[s] [a
               defendant's] liability for past conduct” by increasing the period of
               time during which a defendant can be sued. This effect is
               particularly prevalent in the context of claims that have already
               expired. Resurrection of such claims puts defendants back at risk at
               a point when defendants reasonably believe they are immune from
               litigation, stripping them of a complete affirmative defense they
               previously possessed and may have reasonably relied upon.

Enter. Mortg. Acceptance Co., LLC, Sec. Litig. v. Enter. Mortg. Acceptance Co., 391 F.3d 401,

410 (2d Cir. 2004), as amended (Jan. 7, 2005) (quoting Landgraf v. USI Film Prod., 511 U.S.

244, 280 (1994)).4

       In addition to the foregoing, retroactive application would not further the purpose behind

Subsection (b)(2). The Supreme Court in Cochise Consultancy did not analyze the policy or

intent behind Subsection (b)(2) or the False Claims Act in general, but the Sikkenga Court did. In

holding that only the six-year limitations period in Subsection (b)(1) applies to private qui tam

relators, the Sikkenga Court observed that “Congress viewed qui tam prosecutions as providing a

means to achieve rapid exposure of fraud against the public [treasury], unencumbered by the


attempt to discover when the government knew, or should have known, about the facts
underlying the relator’s cause of action.
4
        Enter. Mortg. Acceptance Co. pertained to whether a statute applied retroactively to
revive certain claims. But its above-quoted observations apply with equal force to the present
case. Regardless of whether a limitations period is increased by statute or by judicial decision,
the effect on defendants is the same.



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lack of resources or the bureaucracy inherent in enforcement by public authorities.” Sikkenga,

472 F.3d at 725 (emphasis in original). With that goal in mind, Subsection (b)(2) was simply

“intended to provide the Department of Justice with a little more flexibility in bringing some

cases that otherwise would be barred.” Id. (internal citations to congressional records omitted)

(emphasis added). Neither of these purposes would be served by retroactively applying Cochise

Consultancy to the present case. If anything, increasing the limitations period to up to ten years

would delay resolution of this action by piling on extra claims that the Court would have to

resolve. Additionally, the government declined intervention in this case, so it does not need any

additional “flexibility.”

        For the foregoing reasons, the Chevron factors resolve in favor of Defendants and against

retroactive application of the Cochise Consultancy decision. That decision “overruled clear past

precedent,” and retroactive application “could produce substantial inequitable results” and would

not further the purposes behind, or the operation of, the FCA in general or Subsection (b)(2)

specifically. Defendants therefore respectfully request that the Court holds that Cochise

Consultancy does not apply retroactively and that only Subsection (b)(1) applies to Relator’s

causes of action.

        B. All Alleged FCA Violations that Occurred in this Case Prior to December 6,
           2006 are Time-Barred

        Since the United States has not intervened in this action, only the six-year limitations

period in Subsection (b)(1) applies. Relator filed his original Complaint on December 6, 2012,

thus any allegedly false claims that Defendants submitted to the government prior to December

6, 2006 are not actionable. The same is true for any other alleged violations of the FCA that

occurred prior to that date.

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       The Amended Complaint only lists the dates of service for the procedures performed by

Dr. Sorensen that were allegedly medically unnecessary. See Am. Compl. ¶ 143. It does not

provide the dates Defendants submitted claims for payment to the federal government. Id.

However, claims for services rendered before December 6, 2005 could not have been submitted

to Medicare or TRICARE/CHAMPUS on or after December 6, 2006. Thus, the claims for these

services must have been submitted outside of the statute of limitations. This is because Medicaid

and TRICARE/CHAMPUS regulations require claims for payment to be submitted no later than

12 months from the date of service, subject to strictly limited exceptions. 42 C.F.R. §

447.45(d)(1); 32 C.F.R. § 199.7(d). Similarly, any claims for services rendered before September

6, 2004 could not have been submitted to Medicaid on or after December 6, 2006. This is

because prior to January 1, 2010, Medicare regulations required claims for payment to be filed

within 15 to 27 months after the date of service, subject to strictly limited exceptions. See 42

C.F.R. § 424.44(a). Accordingly, any claims for payment for services that were rendered before

the foregoing dates are not actionable, nor are any claims for payment that Defendants actually

submitted before December 6, 2006 regardless of when the services were rendered.

       III.    IN THE ALTERNATIVE, THE COURT SHOULD GRANT DEFENDANTS
               ADDITIONAL TIME TO TAKE DISCOVERY

       If the Court determines that Cochise Consultancy applies retroactively to this case,

Defendants respectfully request that the Court grants them 60 days to take discovery and permits

them to renew their Motion for Partial Summary Judgment on Statute of Limitations Grounds

after such discovery is complete. Doing so is within the Court’s discretion, and it would promote

the fair and just resolution of this case. See Roberts v. C.R. England, Inc., 2013 WL 5275942, at

*3 (D. Utah Sept. 18, 2013) (stating that courts have wide discretion to control their dockets as

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they see fit) (citing U.S. v. Nicholson, 983 F.2d 983, 988 (10th Cir.1993) (additional citations

omitted).

       As discussed above, Sikkenga was controlling precedent for thirteen years. Courts in the

Tenth Circuit repeatedly reaffirmed that it was valid and binding. See, e.g. U.S. ex rel. Told v.

Interwest Const. Co., 267 Fed.Appx. 807, 809 (10th Cir. 2008) (unpublished) (declining to

reconsider Sikkenga because the court was “bound by the precedent of prior panels absent en

banc reconsideration or a superseding contrary decision by the Supreme Court.”); United States

ex rel. Tracy, 2018 WL 3111687, at *3 (same). Defendants had been operating under this

precedent, and relying on it, for the entirety of this litigation, and they could not have been

reasonably expected to anticipate its abrogation.

       Prior to the issuance of the Conchise Consultancy decision, there was no need for

Defendants to conduct discovery about when the government knew, or should have known,

about the facts underlying Relator’s causes of action. Under Sikkenga, the six-year statute of

limitations period began to run when the alleged violations occurred. Whether the government

knew, or should have known, about the alleged violations was irrelevant. Conchise Consultancy

has changed that, and the actual and constructive knowledge of the federal government is now

critical, because it determines when the three-year statute of limitations begins to run.

       Pursuant to this Court’s Scheduling Order, Defendants had to file their Motion for Partial

Summary Judgment on Statute of Limitations Grounds by May 15, 2019. See Dkt. 262. Conchise

Consultancy was decided two days before that deadline. It would have been impossible for




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Defendants to obtain discovery about the government’s actual or constructive knowledge within

that two-day period.5

       Due to the fact that Conchise Consultancy dramatically, and suddenly, changed the law

and there was insufficient time for Defendants to adjust and act accordingly, the Court should

allow Defendants 60 days to take additional discovery and to renew their Motion for Partial

Summary Judgment on Statute of Limitations Grounds after that discovery is complete, if

renewal is warranted.


                                        CONCLUSION

       For the foregoing reasons, Defendants Sherman Sorensen, M.D. and Sorensen

Cardiovascular Group, respectfully request that the Court grants their Motion for Partial

Summary Judgment on Statute of Limitations Grounds. In the alternative, Defendants

respectfully request that the Court permits them to renew their Motion after having the

opportunity to conduct additional discovery.

DATED: May 15, 2019
                                                     STIRBA, P.C.

                                                     /s/ Matthew Strout
                                                     PETER STIRBA
                                                     MATTHEW STROUT
                                                     Attorneys for Defendants Sherman
                                                     Sorensen, M.D., and Sorensen
                                                     Cardiovascular Group




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       In addition, note that Stirba, P.C. replaced Holland & Hart as counsel for the Sorensen
Defendants on May 1, 2019. See Dkt. 263. Stirba P.C. was not previously involved in this qui
tam case in any capacity.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 15, 2019, I electronically filed the foregoing

DEFENDANTS SHERMAN SORENSEN AND SORENSEN CARDIOVASCULAR

GROUP’S MOTION FOR PARTIAL SUMMARY JUDGMENT ON STATUTE OF

LIMITATIONS GROUNDS AND MOTION, IN THE ALTERNATIVE, FOR LEAVE TO

TAKE ADDITIONAL DISCOVERY with the Clerk of the Court using the CM/ECF system,

which will send notification of such filing to the CM/ECF participants registered to receive

service.


                                                            /s/ Matthew Strout
                                                            Matthew Strout




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